                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 DIANA VARA, AMANDA WILSON,
 NOEMY SANTIAGO, KENNYA
 CABRERA, and INDRANI MANOO,
 on behalf of themselves and all others
 similarly situated,
                  Plaintiffs,
                                                    Civil No. 19-12175-LTS
 v.

 ELISABETH P. DEVOS, in her official
 capacity as Secretary of the United States
 Department of Education, and THE UNITED
 STATES DEPARTMENT OF EDUCATION,
                Defendants.



  DEFENDANTS’ MOTION FOR AN ORDER STAYING THE EXECUTION OF THE
                 COURT’S ORDER PENDING APPEAL

       Defendants, who are the United States Department of Education, and Elisabeth DeVos, in

her official capacity as the Secretary of Education, respectfully request a stay of the Court’s order

in this lawsuit under Fed. R. Civ. P. 62(d) to preserve the status quo until the appeal process has

concluded if an appeal is taken. If an appeal is not taken, Defendants respectfully request a ten-

day extension of time—to September 7, 2020—to comply with the Court’s order.

                                                      Respectfully submitted,

                                                      Elisabeth DeVos, in her official capacity as
                                                      Secretary of Education, and the United
                                                      States Department of Education

                                                      By their attorney,

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      /s/ Annapurna Balakrishna
                                                      Annapurna Balakrishna
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
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                                   Local Rule 7.1 Certification

        I certify that I conferred with Plaintiffs’ counsel before filing this motion. On July 24,
2020, counsel authorized me to include the following in the certification to this motion: “[W]e
assent to an extension to September 7 in the event that there is no appeal, and otherwise will
oppose any stay of the court’s order pending appeal.”

                                                      /s/ Annapurna Balakrishna
                                                      Annapurna Balakrishna
                                                      Assistant United States Attorney




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